Case 19-01227-5-JNC   Doc 625 Filed 08/26/20 Entered 08/26/20 12:22:37   Page 1 of
                                       34
Case 19-01227-5-JNC   Doc 625 Filed 08/26/20 Entered 08/26/20 12:22:37   Page 2 of
                                       34
Case 19-01227-5-JNC   Doc 625 Filed 08/26/20 Entered 08/26/20 12:22:37   Page 3 of
                                       34
Case 19-01227-5-JNC   Doc 625 Filed 08/26/20 Entered 08/26/20 12:22:37   Page 4 of
                                       34
Case 19-01227-5-JNC   Doc 625 Filed 08/26/20 Entered 08/26/20 12:22:37   Page 5 of
                                       34
Case 19-01227-5-JNC   Doc 625 Filed 08/26/20 Entered 08/26/20 12:22:37   Page 6 of
                                       34
Case 19-01227-5-JNC   Doc 625 Filed 08/26/20 Entered 08/26/20 12:22:37   Page 7 of
                                       34
Case 19-01227-5-JNC   Doc 625 Filed 08/26/20 Entered 08/26/20 12:22:37   Page 8 of
                                       34
Case 19-01227-5-JNC   Doc 625 Filed 08/26/20 Entered 08/26/20 12:22:37   Page 9 of
                                       34
Case 19-01227-5-JNC   Doc 625 Filed 08/26/20 Entered 08/26/20 12:22:37   Page 10 of
                                       34
Case 19-01227-5-JNC   Doc 625 Filed 08/26/20 Entered 08/26/20 12:22:37   Page 11 of
                                       34
Case 19-01227-5-JNC   Doc 625 Filed 08/26/20 Entered 08/26/20 12:22:37   Page 12 of
                                       34
Case 19-01227-5-JNC   Doc 625 Filed 08/26/20 Entered 08/26/20 12:22:37   Page 13 of
                                       34
Case 19-01227-5-JNC   Doc 625 Filed 08/26/20 Entered 08/26/20 12:22:37   Page 14 of
                                       34
Case 19-01227-5-JNC   Doc 625 Filed 08/26/20 Entered 08/26/20 12:22:37   Page 15 of
                                       34
Case 19-01227-5-JNC   Doc 625 Filed 08/26/20 Entered 08/26/20 12:22:37   Page 16 of
                                       34
Case 19-01227-5-JNC   Doc 625 Filed 08/26/20 Entered 08/26/20 12:22:37   Page 17 of
                                       34
Case 19-01227-5-JNC   Doc 625 Filed 08/26/20 Entered 08/26/20 12:22:37   Page 18 of
                                       34
Case 19-01227-5-JNC   Doc 625 Filed 08/26/20 Entered 08/26/20 12:22:37   Page 19 of
                                       34
Case 19-01227-5-JNC   Doc 625 Filed 08/26/20 Entered 08/26/20 12:22:37   Page 20 of
                                       34
Case 19-01227-5-JNC   Doc 625 Filed 08/26/20 Entered 08/26/20 12:22:37   Page 21 of
                                       34
Case 19-01227-5-JNC   Doc 625 Filed 08/26/20 Entered 08/26/20 12:22:37   Page 22 of
                                       34
Case 19-01227-5-JNC   Doc 625 Filed 08/26/20 Entered 08/26/20 12:22:37   Page 23 of
                                       34
Case 19-01227-5-JNC   Doc 625 Filed 08/26/20 Entered 08/26/20 12:22:37   Page 24 of
                                       34
Case 19-01227-5-JNC   Doc 625 Filed 08/26/20 Entered 08/26/20 12:22:37   Page 25 of
                                       34
Case 19-01227-5-JNC   Doc 625 Filed 08/26/20 Entered 08/26/20 12:22:37   Page 26 of
                                       34
Case 19-01227-5-JNC   Doc 625 Filed 08/26/20 Entered 08/26/20 12:22:37   Page 27 of
                                       34
Case 19-01227-5-JNC   Doc 625 Filed 08/26/20 Entered 08/26/20 12:22:37   Page 28 of
                                       34
Case 19-01227-5-JNC   Doc 625 Filed 08/26/20 Entered 08/26/20 12:22:37   Page 29 of
                                       34
Case 19-01227-5-JNC   Doc 625 Filed 08/26/20 Entered 08/26/20 12:22:37   Page 30 of
                                       34
Case 19-01227-5-JNC   Doc 625 Filed 08/26/20 Entered 08/26/20 12:22:37   Page 31 of
                                       34
Case 19-01227-5-JNC   Doc 625 Filed 08/26/20 Entered 08/26/20 12:22:37   Page 32 of
                                       34
Case 19-01227-5-JNC   Doc 625 Filed 08/26/20 Entered 08/26/20 12:22:37   Page 33 of
                                       34
Case 19-01227-5-JNC   Doc 625 Filed 08/26/20 Entered 08/26/20 12:22:37   Page 34 of
                                       34
